Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 1 of 10

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

Eric Heppinstall, individually and on
behalf of all others similarly situated,

C.A. No:
Plaintiff,
CLASS ACTION COMPLAINT
DEMAND FOR JURY TRIAL
-V.-
PREMIERE CREDIT OF NORTH
AMERICA, LLC, VELOCITY
INVESTMENTS LLC,
Defendants.
COMPLAINT

Plaintiff, Eric Heppinstall (hereinafter "Plaintiff'), individually, and on behalf ofall

other similarly situated consumers, hereby alleges as follows:

PRELIMINARY STATEMENT

This is an action for damages arising from Defendants' violations of the Fair Debt
Collections Practices Act, 15 U.S.C. §1692 et seq. (hereinafter "FDCPA"). Plaintiff is

seeking damages and injunctive relief.
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 2 of 10

JURISDICTION AND VENUE

L. The Court has jurisdiction over this class action pursuant to 28 U.S.C. §1331, as
well as 15 U.S.C. § 1692 et. seq. The Court also has pendent jurisdiction over any state law claims
in this action pursuant to 28 U.S.C. § 1367(a).

2. Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2) as this is
where a substantial part of the events or omissions giving rise to the claim occurred and this is
where Plaintiff resides.

PARTIES

3. Plaintiff is a natural person, who at all relevant times has resided in Exeter,

Pennsylvania and is a "consumer" as the phrase is defined and applied under 15 U.S.C.

§1692(a) of the FDCPA.

4. Defendant Premiere Credit of North America, LLC ("Defendant" or "Premier") is
a corporation doing business in the Commonwealth of Pennsylvania, with its corporate address
as 2002 Wellesley Blvd, Indianapolis, Indiana 46219 and is a"debt collector" as the phrase is
defined and applied under 15 U.S.C. §1692(a) of the FDCPA in that they regularly attempt to
collect on debts primarily incurred for personal, family or household purposes.

5. Defendant Velocity Investments LLC ("Velocity”’) is a corporation doing business
in the Commonwealth of Pennsylvania, with its corporate address as 1800 State Route 34 Ste
305, Wall Township, NJ 07719-9168 and is a"debt collector" as the phrase is defined and applied
under 15 U.S.C. §1692(a) of the FDCPA in that they regularly attempt to collect on debts

primarily incurred for personal, family or household purposes.
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 3 of 10

FACTUAL STATEMENT

 

6. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length herein.

7. At some point prior to September 28, 2020, an obligation was allegedly incurred
by Plaintiff.
8. The alleged obligation arose out of a transaction involving The Bank of Missouri

incurred by Plaintiff for personal, family or household purposes and not for business purposes.

9. The alleged obligation is a "debt" as defined by 15 U.S.C. §1692a(5).

10. | The owner of the alleged obligation is a "creditor" as defined by 15 U.S.C.
§1692a(4).

11. The Bank of Missouri purportedly sold the debt to Defendant Velocity Investments
LLC who contracted with the Defendant Premiere to collect the alleged debt.

12. | Defendants Premiere and Velocity collect and attempt to collect debts incurred or
alleged to have been incurred for personal, family or household purposes on behalf of creditors
using the United States Postal Services, telephone and internet.

13. | Onor about September 28, 2020, Defendant sent the Plaintiff a collection letter (the
“Letter”) seeking to collect an alleged debt. Attached hereto as Exhibit A.

14. The letter stated a balance of $893.09 and broke down the balance as follows:
Principal of $614.05, Interest of $74.09 and “Other Charges” of $204.95.

15. | The breakdown in the letter does not clarify whether the interest will continue to
rise and the Plaintiff could reasonably assume it would increase, as there is no qualification or

clarification given regarding the interest rising.
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 4 of 10

16. Yet the bottom of the letter states a current balance of $893.09 and an Interest Rate
of 0.00%.

17. This is confusing to Plaintiff because the letter states earlier that there is a $74.09
charge for interest, implying there is an increasing charge for interest.

18. Itis deceptive to simultaneously state that there is an interest rate of 0.00% and that
there is an interest charge that could be continually increasing.

19. This is especially deceptive in the initial collection letter to Plaintiff, known as the
“G-notice,” which requires the debt collector to clearly state the amount of debt.

20. This G-notice is improper because it is unclear from Defendant’s statement whether
interest would be rising and therefore the amount of debt is unclear.

21. In addition, the letter states an amount of $204.95 without any explanation or
breakdown of these “other charges.”

22. Similar to the interest charge, Plaintiff is not informed whether the other charges
would increase or what the basis of the “other charges” are.

23.  Defendant’s letter does not explain the term “other charges” and Plaintiff has no
way of determining what the “other charges” may be.

24. Defendant’s letter was false, deceptive and misleading.

25. | Defendant’s letter confused and concerned Plaintiff.

26. Plaintiff was misled as to the status of the debt and to his rights and was therefore
unable to evaluate how to handle this debt.

27. Because of this, Plaintiff expended time, money, and effort in determining the

proper course of action.
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 5 of 10

28. These violations by Defendants were knowing, willful, negligent and/or intentional,
and Defendants did not maintain procedures reasonably adapted to avoid any such violations.

29. Defendant’s collection efforts with respect to this alleged debt from Plaintiff caused
Plaintiff to suffer concrete and particularized harm, inter alia, because the FDCPA provides
Plaintiff with the legally protected right to be not to be misled or treated unfairly with respect to
any action for the collection of any consumer debt.

30. Defendant’s deceptive, misleading and unfair representations with respect to its
collection efforts were material misrepresentations that affected and frustrated Plaintiff's ability to
intelligently respond to Defendant’s collection efforts because Plaintiff could not adequately
respond to Defendant’s demand for payment of this debt.

31. | Defendant’s actions created an appreciable risk to Plaintiff of being unable to
properly respond or handle Defendant’s debt collection.

32. Plaintiff would have pursued a different course of action were it not for Defendant’s
statutory violations.

33. Plaintiff was confused and misled to his detriment by the statements in the dunning
letter, and relied on the contents of the letter to his detriment.

34. Asaresult of Defendant’s deceptive, misleading and false debt collection practices,
Plaintiff has been damaged.

CLASS ALLEGATIONS

 

35. Plaintiff bring this claim on behalf of the following case, pursuant to Fed. R. Civ.
P. 23(a) and 23(b)(3).
36. The Class consists of all individuals with addresses in the Commonwealth of

Pennsylvania to whom Defendant Premiere sent a letter attempting to collect a consumer debt on
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 6 of 10

behalf of Defendant Velocity which contained a breakdown of the balance including an interest
charge and also stated that the interest rate was 0.00% which letter was sent on or after a date one
(1) year prior to the filing of this action and on or before a date twenty-one (21) days after the
filing of this action.

37. The identities of all class members can be ascertained from Defendants’ records
and those companies and entities on whose behalf they attempt to collect and/or have purchased
debts.

38. Excluded from the Plaintiff Class are the Defendants and all officer, members,
partners, managers, directors and employees of the Defendants and their respective immediate
families, and legal counsel for all parties to this action, and all members of their immediate
families.

39. There are questions of law and fact common to the Plaintiff Class members, which
common issues predominate over any issues involving only individual class members. The
common questions of law and fact issue include whether the Defendants’ written communications
to consumers, in the forms attached as Exhibits A, violate 15 U.S.C. §§1692e and 1692f.

40. The Plaintiff's claims are typical of the claims of the class members. Plaintiff and
all members of the Plaintiff Class defined in this complaint have claims arising out of the
Defendant's common uniform course of conduct complained ofherein. Plaintiff's claims are typical
of the claims of the Class, and Plaintiff has no interests adverse or antagonistic to the interests of
other members of the Class.

41. — This action has been brought, and may properly be maintained, as a class action
pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:
Case 3:21-cv-01451-MEM Document 1 Filed 08/20/21 Page 7 of 10

d.

e.

Numerosity: The Plaintiff is informed and believe, and on that basis alleged,
that the Plaintiff Class members defined above are so numerous that joinder of
all members would be impractical.

Common Questions Predominate: Common questions of law and fact exist
as to all members of the Plaintiff Class members and those questions
predominance over any questions or issues involving only individual class
members. The principal issue is whether the Defendants’ written
communications to consumers, in the forms attached as Exhibit A violate 15
U.S.C. §1692e, 1692g.

Typicality: The Plaintiff's claims are typical of the claims of the class
members. The Plaintiff and all members of the Plaintiff Class members have
claims arising out of the Defendants' common uniform course of conduct
complained of herein.

Adequacy: The Plaintiff will fairly and adequately protect the interests of the
class members insofar as Plaintiff has no interests that are adverse to the absent
class members. The Plaintiff is committed to vigorously litigating this matter.
Plaintiff has also retained counsel experienced in handling consumer lawsuits,
complex legal issues, and class actions. Neither the Plaintiff nor her counsel
have any interests which might cause them not to vigorously pursue the instant
class action lawsuit.

Superiority: A class action is superior to the other available means for the fair
and efficient adjudication of this controversy because individual joinder of all

members would be impracticable. Class action treatment will permit a large
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 8 of 10

number of similarly situated persons to prosecute their common claims in a
single forum efficiently and without unnecessary duplication of effort and
expense that individual actions would engender.

42. — Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure
is also appropriate in that the questions of law and fact common to members of the Plaintiff Class
predominate over any questions affecting an individual member, and a class action is superior to
other available methods for the fair and efficient adjudication of the controversy.

43. Depending on the outcome of further investigation and discovery, Plaintiff may, at
the time of class certification motion, seek to certify a class(es) only as to particular issues pursuant

to Fed. R. Civ. P. 23(c)(4).

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. §1692e ef seq.

44. _ Plaintiff repeats the allegations as if set forth here.

45. Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff
violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

46. — Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or
misleading representation or means in connection with the collection of any debt.

47. Defendants violated said section, as described above, by making a false, deceptive,
and misleading representations in violation of §§ 1692e and 1692e (10).

48. — Byreason thereof, Defendants are liable to Plaintiff for judgment that Defendant’s

conduct violated Section 1692e et seq. of the FDCPA and Plaintiff is entitled to actual damages,

statutory damages, costs and attorneys’ fees.
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 9 of 10

COUNT II
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. §1692¢ ef seq.

49. Plaintiff repeats the allegations contained in the above paragraphs as if set forth
here.

50. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff
violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

51. Pursuant to 15 U.S.C. § 1692g:

Within five days after the initial communication with a consumer in connection with the
collection of any debt, a debt collector shall... send the consumer a written notice containing —...

(1) the amount of the debt;

(2) the name of the creditor to whom the debt is owed;

52. Defendants violated this section by failing to provide the proper notice required by
§1692¢ in an initial collection letter, because the amount of debt is not clear as the amount may be
increasing due to interest.

53. | Byreason thereof, Defendants are liable to Plaintiff for judgment that Defendant’s
conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.

DEMAND FOR TRIAL BY JURY
54. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

requests a trial by jury on all issues so triable.
Case 3:21-cv-01451-MEM Document1 Filed 08/20/21 Page 10 of 10

PRAYER FOR RELIEF

 

WHEREFORE Plaintiff Eric Heppinstall, individually and on behalf of all others
similarly situated, demands judgment from Defendants Premiere and Defendant Velocity as
follows:

1. Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative, and Scott Bernstein, Esq. as Class Counsel;

2. Awarding Plaintiff and the Class statutory damages;

3. Awarding Plaintiff and the Class actual damages;

4. Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and
expenses;

5. Awarding pre-judgment interest and post-judgment interest; and

6. Awarding Plaintiff and the Class such other and further relief as this Court may
deem just and proper.

Dated: Roseland, New Jersey
August 20, 2021
Skolnick Legal Group, P.C.

/s/ Scott Bernstein

Scott Bernstein, Esq.

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10
